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                                   8                                 UNITED STATES DISTRICT COURT
                                   9                                NORTHERN DISTRICT OF CALIFORNIA
                                  10
                                                                             SAN JOSE DIVISION
                                  11

                                  12     FEDERAL TRADE COMMISSION,                          Case No.17-cv-00220-LHK
Northern District of California
 United States District Court




                                  13                   Plaintiff,                           ORDER GRANTING IN PART AND
                                                                                            DENYING IN PART MOTION TO
                                  14             v.                                         SEAL FTC’S PRETRIAL BRIEF
                                  15     QUALCOMM INCORPORATED,                             Re: Dkt. No. 1062

                                  16                    Defendant.
                                  17

                                  18          Before the Court is a joint administrative motion to file under seal the FTC’s pretrial brief.

                                  19   ECF No. 1062. Applying the compelling reasons standard, the Court rules as follows:

                                  20
                                               Document                    Portions of Pages                           Ruling
                                  21
                                        FTC Pretrial Brief           5:18-19                           DENIED.
                                  22    FTC Pretrial Brief           5:22-25                           DENIED.
                                        FTC Pretrial Brief           5:27-28                           GRANTED.
                                  23    FTC Pretrial Brief           6:2-4                             DENIED.
                                  24    FTC Pretrial Brief           6:12-14                           GRANTED.
                                        FTC Pretrial Brief           6:19-26                           DENIED.
                                  25    FTC Pretrial Brief           7:2-3                             DENIED.
                                        FTC Pretrial Brief           7:17-19                           DENIED.
                                  26    FTC Pretrial Brief           7:21-22                           DENIED.
                                  27    FTC Pretrial Brief           7:23-28                           GRANTED.
                                                                                       1
                                  28
                                       Case No. 17-cv-00220-LHK
                                       ORDER GRANTING IN PART AND DENYING IN PART MOTION TO SEAL FTC’S PRETRIAL BRIEF
                                         Case 5:17-cv-00220-LHK Document 1183 Filed 01/08/19 Page 2 of 2



                                                Document                     Portions of Pages                      Ruling
                                   1
                                        FTC Pretrial Brief            8:4                            GRANTED.
                                   2    FTC Pretrial Brief            8:8-9                          DENIED.
                                        FTC Pretrial Brief            8:15-17                        GRANTED.
                                   3
                                        FTC Pretrial Brief            8:20-22                        DENIED.
                                   4    FTC Pretrial Brief            9:14-15                        DENIED.
                                        FTC Pretrial Brief            9:19-24                        DENIED.
                                   5    FTC Pretrial Brief            9:26                           DENIED.
                                        FTC Pretrial Brief            10:6                           DENIED.
                                   6    FTC Pretrial Brief            10:8-11                        DENIED.
                                   7    FTC Pretrial Brief            10:18-20                       DENIED.
                                        FTC Pretrial Brief            10:22-23                       DENIED.
                                   8    FTC Pretrial Brief            10:25-26                       DENIED.
                                        FTC Pretrial Brief            10:28-11:5                     DENIED.
                                   9    FTC Pretrial Brief            11:9-12:8                      DENIED.
                                  10    FTC Pretrial Brief            14:9                           DENIED.
                                        FTC Pretrial Brief            15:25-26                       DENIED.
                                  11    FTC Pretrial Brief            15:27-16:2                     DENIED.
                                        FTC Pretrial Brief            16:24-17:3                     DENIED.
                                  12    FTC Pretrial Brief            17:6-13                        DENIED.
Northern District of California
 United States District Court




                                  13    FTC Pretrial Brief            17:17-27                       DENIED.
                                        FTC Pretrial Brief            18:1-8                         DENIED.
                                  14    FTC Pretrial Brief            18:13-16                       DENIED.
                                        FTC Pretrial Brief            18:22-19:4                     DENIED.
                                  15    FTC Pretrial Brief            19:9-10                        DENIED.
                                  16    FTC Pretrial Brief            19:19-23                       DENIED.
                                        FTC Pretrial Brief            19:27-20:12                    DENIED.
                                  17    FTC Pretrial Brief            20:18-24                       DENIED.
                                        FTC Pretrial Brief            21:3-7                         DENIED.
                                  18    FTC Pretrial Brief            21:8-9                         GRANTED.
                                        FTC Pretrial Brief            22:9-11                        DENIED.
                                  19
                                        FTC Pretrial Brief            22:15-17                       DENIED.
                                  20
                                              By Wednesday, January 9, 2019, the FTC shall file a revised redacted public version of its
                                  21
                                       Pretrial Brief consistent with this order.
                                  22
                                       IT IS SO ORDERED.
                                  23

                                  24
                                       Dated: January 8, 2019
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                                                                                       ______________________________________
                                  26                                                   LUCY H. KOH
                                                                                       United States District Judge
                                  27
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                                  28
                                       Case No. 17-cv-00220-LHK
                                       ORDER GRANTING IN PART AND DENYING IN PART MOTION TO SEAL FTC’S PRETRIAL BRIEF
